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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
     CORRECT TRANSMISSION, LLC, §
                                                 §
                  Plaintiff, §

     v    § CIVIL ACTION NO. 2:22-CV-00343-JRG
                                                 §
     NOKIA OF AMERICA CORPORATION, §

                   Defe dant. §



                                      VERDICT FORM

          In answering the following questions and completing this Verdict Form, you

    are to follow all the instructions that I have given you in the Court s Final Jury

    Instructions. Your answers to each question must be unanimous. Some of the


    questions contain legal terms that are defined and explained in detail in the Final

    Jury Instructions. You should refer to and consider the Final Jury Instructions as you

    answer the questions in this Verdict Form.




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          As used in this Verdict Form, the following terms have the following

    meanings:

          • Correct Transmission or CT refers to Plaintiff Correct

             Transmission, LLC.

          • “Nokia refers to Defendant Nokia of America Corp.

          • The “ 523 Patent refers to U.S. Patent No. 7,127,523

          • The “ 465 Patent” refers to U.S. Patent No. 7,283,465

          • The “’928 Patent refers to U.S. Patent No. 7,768,928

          • “Asserted Patents refers collectively to the 523 Patent, the 465 Patent,

             and the ’928 Patent.

          • “Asserted Claims refers collectively to ’523 Patent claim 10, ’465

             Patent claim 1, and ’928 Patent claim 1.




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          IT IS VERY IMPORTANT THAT YOU FOLLOW THE
         INSTRUCTIONS PROVIDED IN THIS VERDICT FORM



        READ THEM CAREFULLY AND ENSURE THAT YOUR
               VERDICT COMPLIES WITH THEM




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    QUESTION NO. 1

    Did Correct Transmission prove by a preponderance of the evidence that Nokia

    infringed ANY of the following Asserted Claims?

    Answer Yes or “No for each Asserted Patent listed below.



    Claim 10 of the 523 Patent:


                         Yes:        OR No: X


    Claim 1 of the 465 Patent:


                         Yes:         OR No: X


    Claim 1 of the ’928 Patent:


                         Yes:         OR No: X




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    QUESTION NO. 2

    Did Nokia prove by clear and convincing evidence that the following Asserted Claim

    is invalid as lacking an adequate written description?


    Ans er Yes or “No for the Asserted Claim listed below.



    Claim 10 of the 523 Patent:


                         Yes:             OR No:




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    If the answer is NO to every claim in Question No. 1, then your deliberations
    are complete and your foreperson should sign this verdict form (page 9) and
    notify the Court that you have reached your verdict. Do not ans er Question
    Nos. 3, 4a, 4b, and 4c.



    If the answer is YES to the Asserted Claim in Question No. 2, do not answer
    Question 4a.


    For any Asserted Patent, that is BOTH INFRINGED and is NOT INVALID
    (NO on Question No. 2 for the 523 Patent), then proceed to answer Question
    Nos. 3, 4a, 4b, and 4c.




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    QUESTION NO. 3

    Did Correct Transmission prove by a preponderance of the evidence that Nokia

    willfully infringed any of the Asserted Claims that you found were infrin ed?


          Please answer Yes or “No below:



                         Yes:                        No:




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    QUESTION NO. 4a

    What sum of money, if paid now in cash, do you find by a preponderance of the

    evidence would fairly and reasonably compensate Plaintiff Correct Transmission for

    Nokia s infringement of Claim 10 of the 523 Patent??


          $
          ’523 Patent
                          i.


    QUESTION NO. 4b

    What sum of money, if paid now in cash, do you find by a preponderance of the

    evidence would fairly and reasonably compensate Plaintiff Correct Transmission for

    Nokia’s infringement of Claim 1 of the ’465 Patent?

          $
          ’465 Patent




    QUESTION NO. 4c

    What sum of money, if paid now in cash, do you find by a preponderance of the

    evidence would fairly and reasonably compensate Plaintiff Correct Transmission for

    Nokia’s infringement of Claim 1 of the ’928 Patent?


          $
          ’928 Patent




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                   FINAL PAGE OF THE JURY VERDICT FORM

          You have now reached the end of the Verdict Form and should review it to
    ensure that it accurately reflects your unanimous determinations. The Jury
    Foreperson should then sign and date the Verdict Form in the spaces below. Once
    this is done, notify the Court Security Officer that you have reached a verdict. The
    Jury Foreperson should keep the Verdict Form and bring it when the jury is brought
    back into the courtroom.




    Signed this '5\"" day of November 2024.




                                                            ________________________
                                                              Jury Foreperson




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